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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT
___________________________________________
                                                 )
UNITED STATES SECURITIES                         )
AND EXCHANGE COMMISSION,                         )
                                                 )
                      Plaintiff,                 )
                                                 )
        v.                                       )   Civil Action No. 3:15cv675 (JBA)
                                                 )
IFTIKAR AHMED,                                   )
                                                 )
                      Defendant, and             )
                                                 )
IFTIKAR ALI AHMED SOLE PROP;                     )
I-CUBED DOMAINS, LLC; SHALINI AHMED;             )
SHALINI AHMED 2014 GRANTOR RETAINED )
ANNUNITY TRUST; DIYA HOLDINGS LLC;               )
DIYA REAL HOLDINGS, LLC; I.I. 1, a minor         )
child, by and through his next friends IFTIKAR   )
and SHALINI AHMED, his parents; I.I. 2, a minor )
child, by and through his next friends IFTIKAR   )
and SHALINI AHMED, his parents; and I.I. 3, a    )
minor child, by and through his next friends     )
IFTIKAR and SHALINI AHMED, his parents,          )
                                                 )
                      Relief Defendants.         )
___________________________________________ )

   PLAINTIFF UNITED STATES SECURITIES AND EXCHANGE COMMISSION’S
    OBJECTION TO DEFENDANT’S AND RELIEF DEFENDANTS’ MOTION TO
   OFFSET ALL RECEIVER’S FEES AND EXPENSES AGAINST THE JUDGMENT

       Plaintiff United States Securities and Exchange Commission (the “SEC”) hereby files this

objection to the “motions” filed by Defendant [Doc. # 1472] and Relief Defendants [Doc. # 1471]

arguing that the Receiver’s fees should be offset against the judgment.

       This Court previously ruled that any party wishing to address the Court “on the question

of whether the cost of the receivership should count against the amount of the judgment against

Defendant” was permitted to “file an indication of its position and supporting memorandum of



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law” by February 12, 2020. Rul. Granting Receiver’s Mots. for Fees [Doc. # 1415] at 8-9.

Because the Court did not request motions or otherwise indicate responsive filing would be

permitted – and notwithstanding Defendant and Relief Defendants’ response briefs [Doc.##

1476; 1483] to the SEC’s filing – the SEC will only respond to Defendant’s and Relief

Defendants’ “motions” upon the Court’s request. The SEC files the instant objection only to

make clear that it continues to oppose Defendant and Relief Defendants’ request that the

Receiver’s fees be offset against the judgment.



       DATED: March 4, 2020.

                                                      Respectfully submitted,

                                                      s/ Mark L. Williams
                                                      Nicholas P. Heinke
                                                      Mark L. Williams
                                                      U.S. Securities and Exchange Commission
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                                                      Attorneys for Plaintiff




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                                  CERTIFICATE OF SERVICE

       I certify that on March 4, 2020, a copy of the foregoing document was emailed to

Defendant Iftikar Ahmed at IftyAhmed@icloud.com, and served via ECF upon the following:

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                                                   s/ Mark L. Williams
                                                   Mark L. Williams




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